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       March 25, 2024                                                 Thomas A. Warns
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       VIA ECF                                                        F +1 212 536 3901
       Hon. Margaret M. Garnett
       United States District Judge
       Southern District of New York
       Daniel Patrick Moynihan Courthouse
       500 Pearl Street
       New York, New York 10007

       Re:      Absolute Resolutions Investments, LLC v. Citibank, N.A., No. 1:22-cv-02079

       Dear Judge Garnett:

           I write to inform the Court that Priya Chadha, Esq., currently counsel of record for Defendant
       Citibank, N.A., (“Citi”) in the above referenced proceeding, is no longer with our firm. While the
       law firm K&L Gates LLP continues to represent Citi, we respectfully request that Priya Chadha,
       Esq. be removed from the docket information and list of attorneys who receive ECF notices for
       this case.

                We appreciate Your Honor’s consideration of this matter.

                                                           Respectfully submitted,

                                                           /s/ Thomas A. Warns

                                                           Thomas A. Warns


       So Ordered:

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             U.S.D.J.


       cc:      All Counsel of Record by CM/ECF




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